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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

In Re:                                         )
                                               )
Louis Baldwin                                  ) Chapter 13 Case No. 14-23702
Debtor                                         )
                                               )

                      NOTICE OF MOTION FOR DEPOSIT OF FUNDS
                          INTO U. S. TREASURY FUND 6047BK

         Comes now Paul R. Chael, Standing Chapter 13 Trustee, and moves the Court to allow
Trustee to deposit the amount of $17,078.85 into U. S. Treasury Fund 6047BK for the following
reasons:
         1.     That the debtor herein filed a Petition for Relief under Chapter 13 of the U.S.
                Bankruptcy Code.
         2.     That the debtor’s case was dismissed in September 2015 and a refund check was sent to
                the Debtor in the amount of $17,078.85 in October 2015 then again in August 2016.
         3.     To date said check remains uncashed.
                WHEREFORE, Paul R. Chael, Standing Chapter 13 Trustee, prays this Court to
deposit $17,078.85 into U.S. Treasury Fund 6047BK on behalf of Debtor, Louis Baldwin whose
last known address was PO Box 1420, Cedar Lake, IN 46303




                                               /s/   Paul R. Chael
                                               Paul R. Chael, Trustee
                                               Indiana Attorney #3881-45


                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing Motion was sent
electronically on December 1, 2016 to the United States Trustee and to the debtor at PO Box
1420, Cedar Lake, IN 46303 by U.S. Mail. Debtor was Pro Se.

                                               /s/ Paul R. Chael
                                               Paul R. Chael, Chapter 13 Trustee
                                               401 W. 84th Drive, Suite C
                                               Merrillville, IN 46410
                                               (219) 650-4015
